Case 6:13-cv-OOO72-RWS Document 67 Filed 11/13/17 Page 1 of 3 Page|D #: 1113

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS
TYLER DIVISION

NETWORK~l TECHNOLOGIES, INC.

Plaintiff,
CASE NO. 6:13-cV-072-RWS
vs.
JURY TRIAL DEMANDED
HEWLETT-PACKARD COMPANY AND
HEWLETT PACKARD ENTERPRISE

 

 

 

 

 

 

 

 

COMPANY
Defendants.
DEFENDANTS’ FINAL EXHIBIT LIST
Judge Robel't W. Schroeder III PLAINTIFF’S ATTORNEYS: Gregory Dovel, DEFENDANT’S ATTORNEYS: Jennifer Doan,
Jeffrey Eichmann, T. John Ward, Jr., Christin David Dolkas, Mark Ferguson, Josh Thane,
Cho, Jonas Jacobson Natalie Bennett, Hersh Mehta, Faye Paul
TRIAL DATE (S): l 1/6/2017 ~ l 1/10/20] 7 COURT REPORTER: Judy Werlinger COURTROOM DEPUTY: Betty Schroedex'
Def' N°' DATE ADMlTTED DESCRIPTION OF EXHIBITS

OFFERED

 

DX003 l 1/9/2017 X Linear Technology, LTC4267, Power over Ethernet IEEE 802.3af PD lnterface with
Integrated SWitching Regulator

 

DX005 l 1/10/2017 X Linear Technology, LTC4258 Quad IEEE 802.3af Power over Ethernet Controller
Datasheet

 

DX016 l 1/6/2017 X Novernber 7, 2000 Minutes - IEEE 802.3af DTE Power Meeting

 

DX027 11/6/2017 X September 29, 2003 Email from Corey Horowitz to George Conant titled Merlot PatentSZ

 

DX040 11/9/2017

 

 

 

 

 

 

 

 

 

 

X November 2000 Lucent Presentation - "Resistive" Signature and Detection Protocol
Sumrnary and Overall Feasibility
DX049 l 1/6/2017 X 803.2 af & at Letters of assurance
DX066 l 1/8/2017 X Images
DX074 11/10/2017 X Linear LTC4263 Single IEEE 802.3af Compliant PSE Controller with Internal Switch
DX075 11/] 0/2017 X Linear LTC4266 Quad IEEE 802.3at Power over Ethernet Controller
DX078 11/10/2017 X LTC4270/LTC4271 l2-P0rt POE/PoE+/LTPOE++ PSE Controller
DX079 l 1/10/2017 X Linear LTC4290/LTC4271 8~P0rt PoE/PoE+/LTPOE++ PSE Controller
DX081 11/7/2017 X TPS2375, TPS2376, TPSZ377 IEEE 802.3af PoE Powered Device Controllers
DX087 1 1/9/2017 X IEEE Standard 802.3at-2009, Part 3: Carrier Sense Multiple Access with Collision
Detection (CSMA/CD) Access Method and Physical Layer Specif`lcations
u)&uzszs 1 1/'0/'201 / 2<. lbl:,b Standard 802.3at-2005, Part 3: Camer Sense Multlple Access wlth Colllslon

Detection (CSMA/CD) Access Method and Physical Layer Specif`lcations

 

 

 

 

 

Page 1 0f3

 

 

Case 6:13-cv-OOO72-RWS Document 67 Filed 11/13/17 Page 2 of 3 Page|D #: 1114

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DX089 11/10/2017 X Fisher System Images

DX101 11/7/2017 X Network-l Power Up Licensing Prograrn f1yer

DX103 11/7/2017 X Settlement Agreement between Network-l and PowerDsine (November 16, 2005)

DX105 11/7/2017 X Binding Term Sheet between Network-l and Extreme Networks (July 16, 2010)

DX119 11/10/2017 X U.S. PatentNo. 5,345,592 (“Woodmas”)

DX123 11/10/2017 X WO 98/54843 (“Fisher International”)

DX124 1 1/10/2017 X WO 98/57248 (“Chang International”)

DX129 11/9/2017 X Auto-MDIX patents (6,175,865; 6,460,078)

DX138 11/10/2017 X U.S. Patent N0. 6,496,105 (“Fisher”)

DX139 11/10/2017 X U.S. PatentNo. 6,710,704 (“Fisher”)

DX144 11/10/2017 X U.S. Patent No. 5,991,885 (“Chang”)

DX146 11/9/2017 X U.S. Patent No. 5,406,260 (“Cummings”)

DX157 11/9/2017 X U.S. Patent No. 5,994,998 (“Fisher”)

DX174 1 1/8/2017 X HP LOA for the '865 patent in association with the 802.3ab std.

DX185 11/8/2017 X HP AudiO-MDIX License Agreernent with Real Tek

DX190 11/8/2017 X I~IP AutO-MDIX License Agreement with Marvell International, Ltd.

DX197 1 1/10/2017 X IEEE-SA Standards Board Bylaws (will become effective Q1 2015)

DX202 11/8/2017 X Netwcrk-1 Security Solutions, Inc., 2012 Form 10-K, March 22, 2013 at p. 8

DX206 1 1/8/2017 X Amendment to Patent Purchase, Assignment and License Ag‘reement between Merlot and
Network-l, January 18, 2005

DX207 11/8/2017 X Patent License Agreement between Merlct and Vertical Netwcrks

DX209 1 1/8/2017 X Merlot Letter 0f Assurance

DX275 11/7/2017 X 10/2/2003 email from C. Horowitz to G. Conant

DX276 11/7/2017 X 10/7/2003 email from C. Horowitz to G. Conant

DX283 11/6/2017 X 9/17/2003 Email from Corey Horowitz to George Conant

DX286 11/7/2017 X 1/15/2004 Letter from Jason Mirabito to Linksys, Inc.

DX295 11/9/2017 X Aprii 18, 2000 Presentation, Lucent Technologies, IEEE 802.3 DTE Power via MDI
Detection and Signature Protocol

DX296 11/7/2017 X Cisco 2011- Q1 2015 Report

DX297 11/6/2017 X Cisco Q4 2015 Report

DX299 11/10/2017 X October 10, 2003 Memo from George Conant to Board re: Background on Patent
Portfolio Recommendation

DX3 03 11/7/2017 X 2B(§rll<(i)ing Term Sheet between Network-l and Foundly, Entrasys, and Adtran July 16,

DX3 05 11/8/2017 X Setltlement and License Agreement Between Network-l and Axis defendants August 15,
20 7

 

 

Page 2 0f3

 

 

Case 6:13-cv-OOO72-RWS Document 67 Filed 11/13/17 Page 3 of 3 Page|D #: 1115

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DX3 06 1 1/6/2017 X Network-l's Suppiemental Responses to Defendants' First Set of Comrnon Interrogatories
(Nos. 3 and 4) November 16, 2016

DX307A 11/6/2017 X Letter from Jascn Mirabito to Ericsscn January 27, 2004

DX307B 11/6/2017 X Letter from Jason Mirabito to Delta Products March 4, 2004

DX307C 1 1/6/2017 X Letter from Jason Mirabito to Siemens Enterprise January 22, 2004

DX307D 1 1/6/2017 X Letter from Jason Mirabito to NEC January 23, 2004

DX307E l 1/6/2017 X Letter from Jason Mirabito to Uniden America January 22, 2004

DX307H 11/6/2017 X Email from Corey Horowitz to Edward Wes rex Power Up Licensing Program August 12,
2005

DX3 071 11/6/2017 X Ernail from Corey Horowitz to Jennifer Oche re: Power Up Licensing Program August

DX307J 1 1/6/2017 X ;E:;azi(l)(f:om Corey Horowitz to Keith Lutsch re: Power Up Licensing Prograrn August 12,

005

DX307L 1 1/6/2017 X Letter from Corey Horowitz to Apple re: Special Licensing Program August 7, 2008

DX314 1 1/6/2017 X Settlement and License Agreernent between Network-1 and Cisco May 25, 2011

DX322 1 1/7/2017 X Settlement and License Agreement between Network-l and ShoreTel July 22, 2015

DX342 11/6/2017 X Network-l 's ijections and Responses to Defendants' First Set of Common Interrogatcry
Nc. 2 (Redacted) July 13, 2016

DX345 11/7/2017 X Network-l Form IO-KSB for the year ended December 31, 2007

DX346 11/7/2017 X Netwcrk-l Forrn IO-KSB for the year ended December 31, 2005

DX347 1 1/7/2017 X Network-l Form 10-KSB for the year ended December 31, 2006

DX348 1 1/7/2017 X Network-l Reasonable and Ncn~Discriminatcry Agreement

DX500 1 1/10/2017 X Fisher Systern - Physical Exhibit

 

 

 

 

€Wi~`w».§/Y::> @,§iat§awe‘< 3w

/"

Sf`

;1.~;§~».-.» WM

F[c\)/+%

 

Page 3 0f3

